              Case 2:10-cr-00042-TLN Document 122 Filed 08/04/11 Page 1 of 2


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3
     Attorney for Defendant
4
     Vy Pham
5
6                           IN THE UNITED STATES DISTRICT COURT
7                        FOR THE EASTERN DISTRICT OF CALIFORNIA
8
9                                                      ) Case No.: 2:10 CR 0042 MCE
     UNITED STATES OF AMERICA,                         )
10                                                     ) STIPULATION AND ORDER FOR
                    Plaintiff,                         ) MODIFICATION OF PRETRIAL
11                                                     ) RELEASE CONDITIONS
            v.                                         )
12                                                     ) Judge: Hon. Morrision England
     VY PHAM,                                          )
13                                                     )
                    Defendant.                         )
14
15                  On January 15, 2010, Vy Pham was released from custody on conditions of
16
     release which included, inter alia, condition #10, no contact with co-defendants named in the
17
     Complaint. All parties agree it is appropriate that Ms. Pham be allowed to have contact with co-
18
     defendant Keit Tran and that condition #10 should be modified to allow such contact. In fact,
19
20   Pretrial Services by way of Renee Basurto is recommending that the condition precluding

21   contact with Keit Tran now be removed.
22
     STIPULATION
23
            Therefore, Plaintiff, United States, and Defendant, Vy Pham, through her undersigned
24
25   counsel, hereby stipulate and agree that the Court should order that the pretrial release condition

26   previously imposed precluding contact with all co-defendants be modified to allow contact with
27   one specific co-defendant to wit: Keit Tran. All other previously imposed conditions of pretrial
28
     release should remain in full force and effect.

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              Case 2:10-cr-00042-TLN Document 122 Filed 08/04/11 Page 2 of 2


     IT IS SO STIPULATED.
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     DATED: August 3, 2011                  BENJAMIN B. WAGNER
4                                           United States Attorney
5
                                            By /s/ Jason Hitt
6                                           JASON HITT
                                            Assistant U.S. Attorney
7
8
     DATED: August 3, 2011                  The CHASTAINE LAW OFFICE
9
10
                                            By /s/ Michael Chastaine
11                                          MICHAEL CHASTAINE
                                            Attorney for Defendant
12                                          Vy Pham
13
     ORDER
14   IT IS SO ORDERED. Good Cause Appearing, it is hereby ordered that the previously

15   imposed conditions of pretrial release to wit: condition #10 be modified to read as follows:
16
     Condition 10. You shall not associated or have any contact with the co-defendants named in the
17
     Complaint with the exception of Keit Tran, unless in the presence of counsel or otherwise
18
19   approved in advance by the pretrial services officers. The intent of this modification is to allow

20   contact between Vy Pham and Keit Tran. All other previously imposed conditions of pretrial
21   release shall remain in full force and effect.
22
23   DATED: August 3, 2011

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